       Case 1:17-cv-01953-RDM Document 57-7 Filed 11/27/17 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                   )
ATLAS, INC., et al.,               )     Case No.: 1:17-cv-01953-RDM
                                   )
             Plaintiffs,           )     Hon. Randolph D. Moss
                           v.      )
                                   )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                                   )
             Defendants.           )
~~~~~~~~~~~->

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 44:
Screenshots of Flight 8018, August 26
             Case 1:17-cv-01953-RDM Document 57-7 Filed 11/27/17 Page 2 of 4




l:;J 3.3   Crew Schedule lnqumes I Updates                                                                                                                        Blil IEll
I   LAX     F0-74Y,748,744 (6524 FO Hybrtd 60)                                                                                                 (14Bl ,UU9,080917]         ATI.ASAJ!l.
11451354        I              :::J IPococl<, Daniel
                                                                                                   <21 ~I • It.:.I ~I ~I ~I :t.I \f#l <.?I ~C 111t. l[l [~ 1 i I ?I




                --=- ---------
Wed , 23 Aug Thu, 24Aug Fri, 25 Aug           Sat, 26 Aug   Sun, 27 Aug Mon, 28 Aug Tue, 29 Aug Wed, 30 Aug Th u, 31 Aug Fri, 01 Sep      Sat, 02 Sep   Sun, 03 Sep Mon, 04 Sep
                                                                                                            M




                Wed, 06 Sep Thu, 07 Sep Fri, 08 Sep         Sat, 09 Sep    Sun, 10 Sep Mon, 11 Sep Tue, 12 Sep Wed, 13 Sep Thu, 14 Sep Fri, 15 Sep      Sat, 16 Sep    sun, 17 Sep
                                                                                                                  P.I

                ------ !""i't-~=~~g"~I"' L9967
                                                                                                                                                        =>             =>




                                                                                                                                                        --
Mon, 18 Sep Tu e, 19 Sep Wed, 20 Sep Th u, 21 Sep Fri, 22 Sep              Sat, 23 Sep   Sun, 24 Sep Mon, 25 Sep Tue, 26 Sep Wed, 2-7 Sep Thu, 28 Sep Fri, 29 Sep      Sat, 30 Sep
                                     M
=>              =>             =>             =>                                                                                          =>




                                                                                                                                                                                 0



~Crew Schedule Mod1f1cat1on Log for 08 26.2017                                                                                                                                IEll
Miscellaneous    !ools   ~ew




                                                                                                                                                                      Line 1 of 4
For        Type of Changes                                                 Ey   User          At     On           Option   Notified      Ey   User           At       On

                                                                                                              I
08 26 Route D7565 changed                                                   43 MARIDAL I A 16 55 08 19 2017                      Yes  900 *AIMS_MSG          21 04 08 21.2017
OB 26 Flight D7565 cancelled                                              1213 YANERIE MC 17 38 08 25 2017                           1213 YANERIE MC         17 38 08 25.2017
08 26 Assigned To          MED                                            1213 YANERIE MC 17 38 08 25 2017                       Yes 1213 YANERIE MC         17 38 08 25 . 2017




                                                                                                                                                                               44.1
                                                                                                                                                                Page : 1
       ATLAS AIR                                        Crew Name changes on each flight leg Report
       Fri ,27 Oct 2017                                                         From 08/27/2017 To 08/27/2017                                                   Tirre : 15:50


       "On" Date "On" Time "For" Date Fl ight Leg Data                          Action        Crew Name                                        User who made the change
       08/19/2017    10:49   08/26/2017   8018   HIF   HHN   19:05   4:55 744   Assigned      Diaz, Fernando ( HSV - 744 - CA ) 450228         LEVON MELIKYAN
                     12:35                8018   HIF   HHN   19:05   4:55 744   Assiqned      Wilson, Andrew ( ANC - 744 - FO ) 451992         MARIDAUA SANGIOVANNY
                     12:55                8018   HIF   HHN   19:05   4:55 744   Assigned      Pocock, Daniel ( LAX - 744 - FO ) 451354         MARIDAUA SANGIOVANNY
       08/25/2017    13:38                8018   HIF   HHN   19:05   4:55 744   De-Assigned   Pocock, Daniel ( LAX - 744 - FO ) 451354         YANERIE MCLEE
                     23:51                8018   HIF   HHN   19:05   4:55 744   Assigned      Roberts, Ronald (Ron) (ORD - 744 - FO ) 451679   JEREMIAH HARRINGTON
       08/26/2017    8:52                 8018   HIF   HHN   19:05   4:55 744   De-Assigned   Diaz, Fernando ( HSV - 744 - CA ) 450228         AMIR KHAN
                     9:01                 8018   HIF   HHN   19:05   4:55 744   De-Assigned   Roberts, Ronald (Ron) (ORD - 744 - FO ) 451679   AMIR KHAN
                     9:04                 8018   HIF   HHN   19:05   4:55 744   De-Assigned   Wilson, Andrew ( ANC - 744 - FO ) 451992         AMIR KHAN
         Selected Criteria
         "For" Date Selected                  From 08/27/2017 To 08/27/2017
         " On " Date Selected                 Any Dates
         "On" Time Selected                   From 0:00 To 23:59
         Fl ee t Selected                 :   ALL
         Sorted By                        :   Date and time
         Number Of changes Made           :   8
         Type Of Changes Made                 Both
         Type Of Flights Reported         :   Both
                                                                                                                                                                                Case 1:17-cv-01953-RDM Document 57-7 Filed 11/27/17 Page 3 of 4




44.2
                                                                                                                                                     Page: 1
       ATLAS AIR                                    Crew Name changes on each flight leg Report
       Fri ,27 Oct 2017                                                  From 08/27/2017 To 08/27/2017                                               Tirre : 15:52


       "On" Date "On" Time "For" Date Flight Leg Data                    Action      Crew Name                                        User who made the change
       08/26/2017     8:52   08/27/2017   8018 HIF HHN 11:00 20:47 744   Assigned    Diaz, Fernando ( H5V - 744 - CA ) 450228         AMIR KHAN
                      9:01                8018 HIF HHN 11:00 20:47 744   Assiqned    Roberts, Ronald (Ron) (ORD - 744 - FO ) 451679   AMIR KHAN
                      9:04                8018 HIF HHN 11:00 20:47 744   Assigned    Wilson, Andrew ( ANC - 744 - FO ) 451992         AMIR KHAN
         Selected Criteria
           "For" Date Selected       From 08/27/2017 To 08/27/2017
           "On" Date Selected        Any Dates
           "On" Time Selected        From 0:00 To 23 :59
          Fleet Selected             ALL
          Sorted By                  Date and time
         ~umbe
         I
                r Of changes  Made : 3
         ~ype Of Changes Made        Both
         Type Of Flights Reported    Both
                                                                                                                                                                     Case 1:17-cv-01953-RDM Document 57-7 Filed 11/27/17 Page 4 of 4




44.3
